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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 10 CR 773
               v.
                                            Judge Robert W. Gettleman
 SAMI SAMIR HASSOUN

            GOVERNMENT’S RESPONSE TO DEFENDANT’S
             MOTION FOR MODIFICATION OF SENTENCE
        BASED ON EXTRAORDINARY AND COMPELLING REASONS

       The UNITED STATES OF AMERICA, through its attorney, JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois, hereby

responds to defendant SAMI SAMIR HASSOUN’s motion for modification of sentence

based on extraordinary and compelling reasons. (Dkt. No. 94). For the reasons set

forth below, the government respectfully submits that defendant’s motion should be

denied because defendant has failed to set forth extraordinary and compelling

reasons warranting his release.

I.     BACKGROUND

       Offense Conduct

       On September 19, 2010, defendant attempted to detonate a powerful explosive

device in the area of Wrigley Field in order cause political instability and damage to

the Chicago economy by indiscriminately murdering countless individuals and

destroying a vibrant business district. He wanted to engage in an act of terrorism. He

thought about how to accomplish that goal for months. When introduced to
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individuals whom he was told could help him realize that aspiration, defendant

embraced the opportunity. He attended meeting after meeting to discuss and plan a

proposed attack. Defendant scouted prospective sites, looking for “targets” at which

he could inflict the greatest amount of damage and cause the largest number of

casualties. It was defendant who chose the entertainment district surrounding

Wrigley Field for the attack. He identified a street-side trash receptacle located next

to an oft-crowded bar as the location in which to deposit a bomb. He selected the day

and time at which to strike – midnight on a Saturday night – to maximize the number

of prospective casualties. In the early hours of September 19, 2010, defendant weaved

his way through the Wrigleyville crowds in order to leave what he thought was a

ticking time bomb among the masses. If the bag that defendant left in that Clark

Street trash receptacle had contained the type of explosive device defendant thought

was secreted therein, the results would have been catastrophic.

      Criminal Proceedings

      On September 20, 2010, defendant was arrested, charged by complaint with

attempted use of a weapon of mass destruction, in violation of Title 18, United States

Code, Section 2332a(a)(2)(D) (Count One), and malicious attempt to destroy or

damage a building using an explosive device, in violation of Title 18, United States

Code, Section 844(i) (Count Two), and remanded into federal custody. Dkt. Nos. 1-2.

On September 22, 2010, a detention hearing was held and defendant was detained as

a danger to the community and a risk of flight. Dkt. No. 5. On October 14, 2010, a

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grand jury returned an indictment charging defendant with the same offenses. Dkt.

No. 11.

      On April 23, 2012, defendant pled guilty to both counts of the indictment

pursuant to a plea agreement. Dkt. Nos. 63-64. On May 30, 2013, the Court sentenced

defendant to 23 years on Count One, and 20 years on Count Two, to be served

concurrently, followed by 5 years of supervised release. Dkt. Nos. 89-91. On June 6,

2013, the judgment and commitment order was entered on the docket. Dkt. No. 91.

      Defendant is currently incarcerated at the United States Penitentiary located

in Leavenworth, KS (“USP Leavenworth”), and with good-time credit, the BOP

projects defendant’s release date to be April 25, 2030.

      The BOP’s Response to COVID-19

      As reported on the BOP’s website, in January 2020, the BOP began a course of

action to respond to the spread of COVID-19.1 Phase One of this course of action

included the creation of an agency task force working in conjunction with subject

matter experts from the Center for Disease Control and Prevention (“CDC”) and the

World Health Organization to review guidance about best practices to mitigate

transmission. Id. On March 13, 2020, as part of Phase Two of the course of action, the

BOP began implementing various measures to mitigate the spread of the virus. These




1   Federal Bureau of Prisons COVID-19 Action Plan, March 13, 2020,
https://www.bop.gov/resources/news/20200313_covid-19.jsp (last visited June 11, 2020).

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measures included suspending social visits, in-person legal visits, all inmate

movement, and staff travel. The BOP also began implementing procedures to

quarantine and screen inmates and staff for the virus, which included screening all

newly arriving inmates for exposure risk factors and symptoms, quarantining

asymptomatic inmates with exposure risk factors, and isolating and testing

symptomatic inmates with exposure risk factors. Id.

      Subsequent phases of the BOP’s response included the authorization of inmate

movement in order to avoid overcrowding at BOP facilities. However, such

movements were limited to inmates who had been in custody for more than fourteen

days and who had been subjected to exit screening to ensure that the prisoner had no

COVID-19 symptoms (fever, cough, shortness of breath) and a temperature less than

100.4 F.2 Subsequent phases of the course of action included the quarantine and

isolation of all new inmates with asymptomatic inmates being quarantined for

fourteen days and symptomatic inmates being isolated until testing negative for

COVID-19, modifying operations to maximize social distancing, the maximization of

telework for staff members, and conducting inventory reviews of all cleaning and




2    Updates     to    BOP      COVID-19     Action   Plan,     March      19,  2020,
https://www.bop.gov/resources/news/20200319_covid19_update.jsp (last visited June 11,
2020).

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medical supplies to ensure ample supplies were on hand and ready to be distributed

as necessary at BOP facilities.3

      On April 1, 2020, as part of Phase 5 of its COVID-19 action plan, the BOP

secured all inmates to their assigned cells or quarters to decrease the spread of the

virus.4 On April 13, 2020, as part of Phase 6 of its COVID-19 action plan, the BOP

continued to secure all inmates to their assigned cells or quarters to decrease the

spread of the virus.5     Thereafter, on May 18, 2020, the BOP extended the

implementation of Phase 7 of its COVID-19 plan until June 30, 2020.6 Phase 7

extends all measures from Phase 6, including measures to contain movement and

decrease the spread of the virus. Further details and updates of BOP’s modified

operations are available on the BOP website at a regularly updated resource page:

www.bop.gov/coronavirus/index.jsp.




3    Bureau     of    Prisons    Update     on    COVID-19,     March       24,  2020,
https://www.bop.gov/resources/news/pdfs/20200324 bop press release covid19 update.pdf
(last visited June 11, 2020); COVID-19 Action Plan: Phase Five, March 31 2020,
https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp    (last  visited
June 11, 2020).
4      COVID-19      Action     Plan:     Phase     Five,     March        31,      2020,
https://www.bop.gov/resources/news/20200331 covid19 action plan 5.jsp    (last     visited
June 11, 2020).
5      COVID-19         Action   Plan:      Phase     Six,     April      13,       2020,
https://www.bop.gov/resources/news/pdfs/20200414_press_release_action_plan_6.pdf     (last
visited June 11, 2020).
6  Bureau of Prisons COIF-19 Action Plan: Phase Seven, May 20 2020,
https://www.bop.gov/resources/news/20200520_covid-19_phase_seven.jsp (last visited
June 11, 2020).

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        According to the BOP website, as of June 11, 2020, USP Leavenworth reported

no current positive cases of COVID-19. See www.bop.gov/coronavirus/index.jsp.

        Defendant’s Motion for Compassionate Release

        On or about April 9, 2020, defendant submitted an administrative request for

reduction in sentence or compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)

to the Warden at USP Leavenworth. Dkt. No. 94, Exhibit 1. On April 28, 2020, the

BOP denied the motion, stating, inter alia, that defendant was ineligible for release

due to the immigration detainer lodged against him. Id., Exhibit 2. Defendant filed

the instant motion on May 27, 2020. Id.

II.     ARGUMENT

        Defendant’s motion is ripe for adjudication by this court because defendant has

complied with the First Step Act’s requirement that a defendant exhaust

administrative remedies before seeking a compassionate release reduction in

sentence from the court. Nevertheless, for the reasons detailed below, the Court

should deny defendant’s motion because defendant has not established that

extraordinary and compelling reasons justify his requested reduction in sentence.7




7If the court is inclined to grant the motion, the government requests that the court impose
a 14-day quarantine period and medical clearance prior to release to minimize the possibility
of any spread of COVID-19 from the inmate to the public.

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      A.     Legal Standard

      As amended by Section 603(b) of the First Step Act of 2018, Pub. L. 115-391,

Title 18, United States Code, Section 3582(c)(1)(A) provides:

             [T]he court, upon motion of the Director of the Bureau of Prisons,
       or upon motion of the defendant after the defendant has fully
       exhausted all administrative rights to appeal a failure of the Bureau
       of Prisons to bring a motion on the defendant’s behalf or the lapse of
       30 days from the receipt of such a request by the warden of the
       defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment (and may impose a term of probation or supervised
       release with or without conditions that does not exceed the unserved
       portion of the original term of imprisonment), after considering the
       factors set forth in section 3553(a) to the extent that they are
       applicable, if it finds that—

                   (i) extraordinary and compelling reasons warrant
           such a reduction; or

                   (ii) the defendant is at least 70 years of age, has
           served at least 30 years in prison, pursuant to a sentence
           imposed under section 3559(c), for the offense or offenses for
           which the defendant is currently imprisoned, and a
           determination has been made by the Direct of the Bureau of
           Prisons that the defendant is not a danger to the safety of any
           other person or the community, as provided under section
           3142(g); and that such a reduction is consistent with
           applicable policy statements issued by the Sentencing
           Commission.

      Under this statute, a sentence reduction must be consistent with applicable

policy statements issued by the U.S. Sentencing Commission. § 3582(c)(1)(A). In

addition to finding “extraordinary and compelling” reasons for the reduction, the

Court must also find that “[t]he defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g)” per U.S.S.G.

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§ 1B1.13(2). Finally, the Court must consider the 18 U.S.C. § 3553 sentencing factors

to the extent relevant. Id.

      Congress directed that the Sentencing Commission issue policy statements

defining the “extraordinary and compelling reasons” that might warrant a sentence

reduction under § 3582(c)(1)(A)(i). See 28 U.S.C. § 994(t) (“The Commission, in

promulgating general policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples. Rehabilitation of the defendant alone

shall not be considered an extraordinary and compelling reason.”).

      Pursuant to this directive, § 1B1.13 of the Sentencing Guidelines Manual sets

forth the Commission’s policy statement relating to § 3582(c). Guideline § 1B1.13

provides that under § 3582(c)(1)(A), a court may reduce a term of imprisonment, after

considering the § 3553(a) factors, if three criteria are satisfied: (1) “extraordinary and

compelling reasons warrant the reduction”; (2) “the defendant is not a danger to the

safety of any other person or to the community”; and (3) “the reduction is consistent

with this policy statement.” Application Note 1 to Guideline § 1B1.13 identifies

factors that may constitute “extraordinary and compelling reasons” for a sentence

reduction, including a defendant’s medical condition, age, family circumstances, and

an open-ended category for “other reasons.”



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      Thus, in order to obtain relief under § 3582(c)(1)(A)(i), the defendant must

show that:

      (1) he has requested relief from the BOP and exhausted any administrative

appeals in that process;

      (2) there exist extraordinary and compelling reasons that warrant a sentence

reduction;

      (3) the requested reduction is consistent with the policy statements issued by

the sentencing commission in Guideline §1B1.13, including the requirement that “the

defendant is not a danger to the safety of any other person or to the community”; and

      (4) the reduction is warranted in light of the factors listed in 18 U.S.C. § 3553.

      B.     Defendant Has Complied with Section 3582(c)(1)’s Requirement
             That He Exhaust Available Administrative Remedies.

      As stated above, according to 18 U.S.C. § 3582(c)(1), a defendant is free to bring

a motion for compassionate release after he has exhausted all administrative rights

to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf, or 30 days have elapsed since the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier. Defendant submitted a request for a

reduction of sentence or compassionate release on April 2, 2020, which was denied on

____. Because more than 30 days have elapsed since April 17, 2020, the warden

received defendant’s request, defendant has satisfied the statutory exhaustion

requirement set forth in § 3582(c)(1)(A).


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      C.     Defendant Is Ineligible for Relief Under Section 3582(c)(1)(A).

      For the reasons detailed below, the Court should deny defendant’s motion

because defendant has not established that extraordinary and compelling reasons

justify his requested reduction in sentence, when taking into account the pertinent

§ 3553(a) factors.

      Defendant      fails   to   satisfy    the     standard      for   release    under

Section 3852(c)(1)(A)(i). As pertinent here, defendant is not at least 70 years old and

has not served at least 30 years in prison; thus, he is ineligible to seek compassionate

release under § 3852(c)(1)(A)(ii). Instead, defendant is only eligible to seek release on

the   grounds    that,   “after   considering      the   factors   set   forth   in section

3553(a)…extraordinary and compelling reasons warrant such a reduction…and that

such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

      Congress directed that the Sentencing Commission issue policy statements

defining the “extraordinary and compelling reasons” that might warrant a sentence

reduction under § 3852(c)(1)(A)(i). See 28 U.S.C. § 994(t) (“The Commission, in

promulgating general policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples. Rehabilitation of the defendant alone

shall not be considered an extraordinary and compelling reason.”).

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      Guideline § 1B1.13 provides that under § 3852(c)(1)(A), a court may reduce a

term of imprisonment, after considering the § 3553(a) factors, if three criteria are

satisfied: (1) “extraordinary and compelling reasons warrant the reduction”; (2) “the

defendant is not a danger to the safety of any other person or to the community”; and

(3) “the reduction is consistent with this policy statement.” Application Note 1 to

Guideline § 1B1.13 identifies factors that may constitute “extraordinary and

compelling reasons” for a sentence reduction, including a defendant’s medical

condition, age, family circumstances, and an open-ended category for “other reasons.”

In addition, any reduction must be supported by “the factors set forth in [18 U.S.C. §]

3553(a).” USSG §1B1.13. See also, e.g., United States v. Willis, 2019 WL 2403192, at

*2 (D.N.M. June 7, 2019); see also United States v. Brown, 411 F. Supp. 3d 446, 448

(S.D. Iowa 2019).

      With respect to applicable policy statements, before the passage of the First

Step Act, the Sentencing Commission concluded that “extraordinary and compelling

reasons” were limited to the following four scenarios:

      1.     The defendant suffered from a “terminal illness” or his physical or
             mental condition “substantially diminishes the ability of the defendant
             to provide self-care within the environment of a correctional facility and
             from which he or she is not expected to recover.” USSG § 1B1.13 cmt.
             n.1(A).

      2.     The defendant was at least 65 years old, experiencing a serious
             deterioration in physical or mental health because of the aging process,
             and served the lesser of 10 years or 75% of his sentence. Id. § 1B1.13
             cmt. n.1(B).


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       3.    The defendant’s family circumstances include either the death or
             incapacitation of the caregiver of the defendant’s minor child or minor
             children or the incapacitation of the defendant’s spouse or registered
             partner when the defendant would be the only available caregiver for
             the spouse or registered partner. Id. § 1B1.13 cmt. n.1(C).

       4.    If there were “an extraordinary and compelling reason other than, or in
             combination with, the reasons described in subdivisions (A) through
             (C).” Id. § 1B1.13 cmt. n.1(D).

The changes to 18 U.S.C. § 3582(C)(1)(A)(i) made by the First Step Act altered the

procedure through which compassionate release could be sought, but did not alter the

grounds for granting relief.

       Defendant asserts that he is at a higher risk of serious illness should he

contract COVID-19 “[t]he disease, the inflammation and debilitation it has caused,

and his medication leave Mr. Hassoun ‘immunocompromised,’” and cites letters from

his prior treating physicians in support of this position. Dkt. No. 94 at 4, Exhibits 4-

5. Defendant is diagnosed with Familial Mediterranean Fever, which according to the

National Institute of Health is an inherited condition characterized by recurrent

episodes of fever accompanied by pain in the abdomen, chest, joints, pelvis, and/or

muscles. Dkt. 94, Exhibit 3.8 A review of defendant’s BOP medical records reveals

that defendant has experienced many of these symptoms while imprisoned and has

been prescribed a range of medications to treat these symptoms. See Under Seal

Exhibit A (Dkt. No. 100). According to the BOP, defendant was prescribed a new drug


8    See https://rarediseases.info.nih.gov/diseases/6421/familial-mediterranean-fever (last
visited June 11, 2020).

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to treat his FMF symptoms after other medications did not effectively treat his

symptoms. Exhibit A at 7. The new medication has been a success to date, as

defendant has not had flairs of his FMF symptoms since he began taking the

medication. Id. at 2. The BOP medical staff further concluded that, due to his FMF

diagnosis and the new         treatment,    which was characterized as “chronic

immunomodulator therapy,” defendant “is at risk for more complications from

COVID-19.” Id. at 7.

       According to the CDC’s website, people who are immunocompromised are at

higher risk for severe illness should they contract COVID-19.9 In light of the COVID-

19 pandemic, and the fact that, as confirmed by medical records, defendant presents

with a medical condition identified by the CDC as a COVID-19 risk factor—

specifically, being immunocompromised—the government agrees that defendant has

established that he suffers from as he has established “a serious physical or medical

condition . . . that substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility and from which he or she is

not expected to recover,” U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I), in that the inmate’s

ability to provide self-care against serious injury or death as a result of COVID-19 is

substantially diminished, within the environment of a correctional facility, by the




9  See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html (last visited June 11, 2020).

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chronic condition itself. an extraordinary and compelling reason for release, However,

this does not complete the inquiry as the Court must also consider whether release

would be consistent with the applicable policy statement and the sentencing factors

set forth in 18 U.S.C. § 3553(a).

      B.     Defendant’s release would not be consistent with the applicable
             policy statement and the statutory factors set forth in § 3553(a).

      Pursuant to the statute and applicable policy statement, the Court must also

consider whether defendant poses a danger to the community, as well as all other

pertinent § 3553(a) factors, including defendant’s history and characteristics, the risk

of recidivism he poses, the time remaining on his sentence, the quality of his release

plan, and the impact of BOP’s efforts to maintain the safety of inmates. On balance,

these factors demonstrate that his early release is not warranted.

      First, defendant continues to be a danger to the community as reflected by his

significantly serious offense conduct—which involved seeking to murder hundreds of

innocent people using a weapon of mass destruction. Defendant attempted to carry

out an act of terrorism that was designed by him to maximize both actual and

psychological damage. Indeed, in recorded conversations with both the government’s

cooperating source and its undercover agents, defendant talked about using terrorism

to embarrass and undermine Chicago’s political leadership, “paralyze” commerce,

and undermine the city’s sense of security. Dkt. No. 1, ¶¶ 10, 22, 29-30, 34-35.

Defendant told the government agents that he chose the target location in


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Wrigleyville because “it presented the opportunity to inflict a greater number of

casualties than alternate locations.” Dkt. No. 64, ¶ 6. During the months in advance

of his offense conduct, defendant mused about the various ways in which to attack

Chicago. In conversation after conversation, defendant expressed a desire to

perpetrate a random act of violence designed to strike fear and instability in Chicago.

These statements proved to be more than disturbing bravado because in the end,

defendant was willing to engage in a potentially horrific terrorist attack for a few

dollars and the perverse desire to see the chaos and destruction he could cause.

      Taking everything into account, including the seriousness of the offense and

danger defendant poses to the public, the Court found that a sentence of 23 years –

which was below the defendant’s guidelines range of life – was warranted. The

Court’s assessment remains valid; yet more than 50 percent of the sentence imposed

by the Court remains to be served. Accordingly, defendant has not established that,

taking into account the relevant factors under § 3553(a), extraordinary and

compelling circumstances warrant his release at this time.

      Moreover, despite defendant’s at-risk status due to his medical treatment for

his FMF, the fact remains that defendant has over 10 years left to serve on the

sentence the Court imposed, his FMF is being treated and controlled by BOP medical

personnel, he does not claim to have been exposed to COVID-19, and he is detained

at a BOP facility where the BOP has reported no inmates have tested positive for

COVID-19 to date. See https://www.bop.gov/coronavirus/ (last visited June 11, 2020).

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      Moreover, defendant is subject to an immigration detainer, and will thus be

removed to his home country of Lebanon upon his release from prison. Accordingly,

defendant cannot show that his release will reduce his potential exposure to COVID-

19, or his risk of serious complications from the virus. See United States v. Maka, No.

03 CR 84, 2020 WL 2544408, at *5 (D. Haw. May 19, 2020) (finding a reduction in

sentence not warranted after weighing the violent circumstances of the defendant’s

crimes and his likely deportation against his age and medical conditions and the

COVID-19 risk). In assessing Maka’s likely deportation, the court found that early

release might increase his risk of contracting COVID-19, when taking into account

the fact that he would likely be transferred into an immigration facility where

COVID-19 may be present, and then required to travel to Tonga would involve several

flights during which Maka could contract COVID-19. Id. at *4.




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III.   CONCLUSION

       For the reasons set forth above, the government respectfully submits that

defendant’s motion for modification of sentence based on extraordinary and

compelling reasons, (Dkt. No. 94), should be denied.



Date: June 11, 2020                    Respectfully submitted,

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